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                              No. 22-3286


               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT


                           JEFFREY GOOD,

                                             Plaintiff-Appellant,
                                  v.

     UNITED STATES DEPARTMENT OF EDUCATION, et al.,

                                            Defendants-Appellees.



            On Appeal from the United States District Court
                      for the District of Kansas
                   No. 2:21-cv-2539-JAR-ADM
                       Hon. Julie A. Robinson



            BRIEF FOR DEFENDANT-APPELLEE
          HIGHER EDUCATION LOAN AUTHORITY
               OF THE STATE OF MISSOURI

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                 ORAL ARGUMENT REQUESTED
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                         RULE 28.2(C)(3) STATEMENT

      There have been no prior appeals in this case, and counsel is not aware of any

other appeals related to this case.




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                                GLOSSARY

FCRA             Fair Credit Reporting Act

HEA              Higher Education Act

LCD FUND         Lewis and Clark Discovery Fund

MDHE             Missouri Department of Higher Education

MOHEFA           Health and Educational Facilities Authority of the State of
                 Missouri

MOHELA           Higher Education Loan Authority of the State of Missouri

PHEAA            Pennsylvania Higher Education Assistance Agency

TRANSUNION       TransUnion, LLC

USDOE            United States Department of Education




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                                   JURISDICTION

         Plaintiff-appellant Jeffrey Good (“Mr. Good”) filed this action in state court

alleging claims under the Fair Credit Reporting Act (“FCRA”) against

defendants-appellees United States Department of Education (“USDOE”) and the

Higher Education Loan Authority of the State of Missouri (“MOHELA”), as well

as defendant TransUnion, LLC (“TransUnion”). App. 9-32. 1 USDOE removed

the case to the United States District Court for the District of Kansas. App. 6.

         In a Memorandum and Order filed on June 16, 2022, the United States

District Court for the District of Kansas granted (i) MOHELA’s motion for

judgment on the pleadings pursuant to FED. R. CIV. P. 12(c) on the grounds that

MOHELA is an arm of the State of Missouri entitled to Eleventh Amendment

immunity; and, (ii) USDOE’s motion to dismiss for lack of subject matter

jurisdiction. App. 187-208. Mr. Good and TransUnion later settled. App. 108.

         On November 1, 2022, the district court clerk entered a final judgment for

MOHELA and USDOE. App. 209-210. On December 30, 2022, Mr. Good timely

filed, under FED. R. APP. P. 4(a)(1)B), a notice of appeal within 60 days of the

entry of judgment. Id. at 211-12. Thus, MOHELA concedes that this Court has

jurisdiction to hear Mr. Good’s appeal, pursuant to 28 U.S.C. § 1291.




     1
         Citations to “App.” refer to pages of the appendix filed by Appellant.

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                          STATEMENT OF THE ISSUES

        The district court dismissed Mr. Good’s FCRA claim against MOHELA on

the grounds that MOHELA is an arm of the State of Missouri entitled to Eleventh

Amendment immunity. As it pertains to MOHELA,2 the issue presented on appeal

is:

        1.    Did the district court correctly conclude that MOHELA is an arm of the

State of Missouri entitled to Eleventh Amendment immunity?

                                     STATUTES

        Pertinent statutory provisions are reproduced in the addendum to this brief.

                           STATEMENT OF THE CASE

        A.    MOHELA

        Under the Higher Education Act, Pub. L. No. 89-329, 79 Stat. 1219 (1965)

(“HEA”), and related statutes and regulations, USDOE issues a variety of loans and

grants to students. Rather than self-service the loans, USDOE contracts with third-

party servicers to perform that function. Every aspect of that servicing is highly

regulated by USDOE.

        MOHELA was created by the General Assembly of the State of Missouri

through passage of House Bill (HB) 326, signed into law on June 15, 1981, in order



        2
        MOHELA states that it is exempt from 10th Cir. R. 31.3(B) as the only other
appellee is a governmental entity, and thus a certificate stating the reasons why a
separate brief is filed is unnecessary.

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to ensure that all eligible postsecondary education students have access to

guaranteed student loans. The legislation was amended3 to provide MOHELA with

generally expanded powers to finance, originate, acquire, and service student loans,

including, but not limited to, those guaranteed or insured pursuant to the HEA.

        MOHELA is, and at all times material hereto was, a public instrumentality

and a body politic and corporate of the State of Missouri. RSMo. § 173.360; App.

33-34, 43-44, 191. A Missouri statute declares MOHELA a state instrumentality:

“The authority is hereby declared to be performing a public function and to be a

separate public instrumentality of the state.” RSMo. § 173.415; App. 191.

        MOHELA is organized and exists under the Missouri Higher Education Loan

Authority Act. RSMo. §§ 173.350 - 173.445. MOHELA’s mission is “to assure that

all eligible postsecondary education students have access to student loans that are

guaranteed or insured, or both,” and to provide funding for capital and technology

projects at Missouri’s public colleges and universities. RSMo. § 173.360. Missouri

law requires MOHELA to contribute hundreds of millions of dollars to the State’s

Lewis and Clark Discovery Fund (“LCD Fund”). RSMo. § 173.385.2. MOHELA

is also authorized to service student loans for any owner thereof, regardless of




        3
            Effective August 28, 1994, August 28, 2003, August 28, 2007, and May 2,
2008.

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whether such student loans are originated in Missouri or outside Missouri. RSMo.

§ 173.385.1(18).

      As demonstrated by the following non-inclusive list, MOHELA’s structure is

consistent with that of other Missouri public instrumentalities:

          MOHELA’s property, income, bonds and activities are exempt from state

           taxation (RSMo. § 173.415);

          MOHELA is assigned to and reports to a state agency, the Missouri

           Department of Higher Education (“MDHE”) (RSMo. § 173.445), which

           has two of its officials seated on MOHELA’s board and which must

           approve the sale of student loans owned by MOHELA (RSMo. §

           173.385.1(8));

          MOHELA is required to report on its financial condition to the MDHE

           annually (RSMo. § 173.445);

          Five of the seven members of MOHELA’s governing board are

           appointed directly by the Governor, and the other members are indirectly

           appointed by the Governor because one is a member of Missouri’s

           Coordinating Board for Higher Education (appointed by the Governor)

           and the other is the Commissioner of the MDHE (appointed by the

           Coordinating Board for Higher Education) (RSMo. § 173.360);

          The Governor may remove any board member for cause (Id.);


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             MOHELA meetings are open to the public (RSMo. § 173.365), and

              MOHELA is subject to and complies with Missouri’s Sunshine Law

              (RSMo. § 610.020, et seq.).

         In 2011, MOHELA was selected through a competitive process by USDOE

to service student loans on a national basis. App. 56. MOHELA remains a third-

party servicer of USDOE and is not itself a party to the underlying loan contracts

between USDOE and its borrowers. Id.

         B.    MOHELA’s Servicing Of Mr. Good’s Student Loans

         Mr. Good was obligated on certain student loans owed to USDOE, which were

at one time serviced by MOHELA. App. 11, 21, 27-28. In or about April 2021, Mr.

Good alleges he submitted disputes to each of the three major credit reporting

agencies—Experian, Equifax, and TransUnion—asserting that his credit reports

contained errors relating to his student loans. Id. at 11. Mr. Good alleges

Experian and Equifax made changes or corrections, but TransUnion did not. Id.

at 12.

         MOHELA communicated directly with Mr. Good regarding his dispute. App.

at 12, 21-22. MOHELA advised Mr. Good that, as of December 4, 2017, the

servicing of his student loans had transferred away from MOHELA, which was also

reflected on Mr. Good’s credit report. Id. at 12, 21, and 27-28. MOHELA further




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explained the results of its investigation regarding MOHELA’s prior reporting of a

delinquency status on the loans between 2013 and 2017. Id. at 21.

        C.    Proceedings Below

        Mr. Good originally filed this civil action in state court, the District Court of

Johnson County, Kansas, against TransUnion, USDOE, and MOHELA. App. 9-32.

Mr. Good alleged each of the defendants violated the FCRA. Id. Asserting a single

claim against MOHELA for violation of 15 U.S.C. § 1681s-2(b), Mr. Good alleges

that MOHELA failed to investigate his dispute and correct its tradeline with respect

to the student loans on Mr. Good’s credit report with TransUnion. Id., at 15-18, 188.

As it pertains to MOHELA, Mr. Good sought relief in the form of statutory, actual,

and punitive damages, as well as costs, reasonable attorneys’ fees, and pre-judgment

or post-judgment interest. App. 17.

        On November 19, 2021, USDOE removed the action to the United States

District Court for the District of Kansas. App. 6. On December 13, 2021, MOHELA

filed its Answer (App. 33-48), Motion for Judgment on the Pleadings (App. 49-52)

under FED. R. CIV. P. 12(c), and Memorandum in Support (App. 53-68). In

summary, MOHELA argued that judgment should be entered in its favor because it

is an arm of the sovereign State of Missouri and thus immune from suit in the District

of Kansas under the Eleventh Amendment to the United States Constitution. Id. at

54.



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      On December 14, 2021, USDOE filed its Motion to Dismiss (App. 69-70) and

Memorandum in Support (App. 71-116) advancing arguments regarding lack of

subject matter jurisdiction under F ED. R. CIV. P. 12(b)(1) and failure to state a claim

under FED. R. CIV. P. 12(b)(6).

      Mr. Good opposed MOHELA’s and USDOE’s motions. App. 117-151.

MOHELA and USDOE each filed a reply brief. App. 152-186.

      On June 16, 2022, the district court granted both MOHELA’s and USDOE’s

motions. App. 187-208. As it pertains to MOHELA, the district court applied the

governing Tenth Circuit test and concluded that the balance of the factors weighed

in favor of the conclusion that MOHELA was an arm of the State of Missouri entitled

to Eleventh Amendment immunity. App. 195. As it pertains to USDOE, the district

court concluded that the FCRA does not clearly and explicitly waive USDOE’s

sovereign immunity. Id. at 208. Finding that it lacked subject matter jurisdiction

over Mr. Good’s FCRA claim against USDOE, the district court did not proceed to

USDOE’s alternative argument that Mr. Good failed to state a claim. Id.

      On October 31, 2022, a stipulation of dismissal with prejudice of TransUnion,

the sole remaining defendant, was filed. App. 8. On November 1, 2022, the district

court clerk entered judgment for MOHELA and USDOE. App. 209-210.




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                       SUMMARY OF THE ARGUMENT

      The Eleventh Amendment to the U.S. Constitution provides that “[t]he

Judicial power of the United States shall not be construed to extend to any suit in

law or equity, commenced or prosecuted against one of the United States by Citizens

of another State, or by Citizens or Subjects of any Foreign State.” U.S. Const.

amend. XI. It is well established that this immunity extends to “arms of the state.”

Watson v. Univ. of Utah Med. Ctr., 75 F.3d 569, 574 (10th Cir. 1996). The burden

to establish “arm of the state” immunity falls on the entity claiming immunity.

      This Court employs a two-step process for evaluating whether an entity is an

“arm of the state.” Initially, this Court evaluates four potentially dispositive factors:

(1) the character ascribed to the entity under state law; (2) the degree of autonomy

accorded the entity under state law; (3) the entity's finances; and (4) whether the

entity in question is concerned primarily with local or state affairs. See Hennessey

v. Univ. of Kansas Hosp. Auth., 53 F.4th 516, 528 (10th Cir. 2022) (quoting Steadfast

Ins. Co. v. Agric. Ins. Co., 507 F.3d 1250, 1253 (10th Cir. 2007)). The district court

properly analyzed those factors, and concluded that MOHELA was entitled to arm

of the state status. This Court should reach the same conclusion.

      The first factor weighs in favor of MOHELA’s arm of the state status.

Missouri’s legislature created MOHELA by special law, designated it as a “public

instrumentality of the state,” assigned it to the MDHE (itself an executive agency of



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the State of Missouri), and declared MOHELA to be exercising an “essential public

function.” RSMo. §§ 173.415, 173.360. MOHELA is the only entity in the State of

Missouri devoted to higher education finance and which can issue bonds to finance

student loans. Missouri statute identifies MOHELA as a public instrumentality of

the State of Missouri.

      The second factor also supports MOHELA’s arm of the state status as the

State of Missouri possesses expansive control over MOHELA and limits

MOHELA’s autonomy in many respects. The “autonomy factor” is complex and

considers a host of issues, but it encompasses the entire relationship between the

State and MOHELA. See Hennessy, 54 F.4th at 536. The Governor of Missouri

appoints five of MOHELA’s seven members; the remaining two are officials of other

state entities; and all seven are “remov[able] by the governor” for cause. RSMo. §

173.360. The State of Missouri controls MOHELA by limiting it to only certain

enumerated powers. RSMo. § 173.385. Missouri also “assigned” MOHELA to the

MDHE, and placed two MDHE officials on MOHELA’s board. MOHELA must

make annual financial reports to MDHE, which must also approve MOHELA’s sale

of loans. Id.; RSMo. § 173.385.1(8). MOHELA’s meetings must be public. RSMo.

§ 173.365. In summary, the State of Missouri exercises significant oversight over

MOHELA’s decision-making and regulates MOHELA’s functions and operations.




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         The third factor analyzes MOHELA’s finances. MOHELA does not receive

direct funding from the State of Missouri. Nor does MOHELA have the right to levy

taxes.    MOHELA can issue bonds, but that authority is subject to statutory

limitations and mandatory reporting to the State, including the requirement that the

MDHE approve a pledge of loans to secure bonds because such a pledge constitutes

a sale of loans. MOHELA’s funding is, therefore, inextricably tied to the State of

Missouri. Moreover, with respect to the transfer of funds, MOHELA’s relationship

with the State of Missouri is a one-way street. Pursuant to state statute and by virtue

of the State’s control, MOHELA has transferred hundreds of millions of dollars to

the State of Missouri to support capital projects, public colleges and universities, and

state scholarship and grant programs. The State of Missouri can, and has, imposed

financial obligations on MOHELA, such as it did in 2007 when it amended state

statutes to require MOHELA to transfer $350 Million to the State via the LCD Fund.

In addition, the State of Missouri has requested and MOHELA has provided $93

Million in State-based higher education scholarship and grant funding between 2010

and 2022 (and MOHELA will provide another $6 Million in July). MOHELA

respectfully submits that this factor weighs in favor of immunity or is neutral.

         The fourth factor clearly supports MOHELA’s arm of the state status as

MOHELA is concerned primarily with state-wide interests. MOHELA’s function is

to “support the efforts of public colleges and universities to create and fund capital



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projects, and in order to support the Missouri technology corporation's ability to

work with colleges and universities in identifying opportunities for commercializing

technologies, transferring technologies, and to develop, recruit, and retain entities

engaged in innovative technologies[.]” RSMo. § 173.360. Led by its Governor-

appointed and -controlled board, MOHELA’s purpose is to “assure that all eligible

postsecondary education students have access to student loans that are guaranteed or

insured, or both[.]” Id. MOHELA is the only Missouri state entity that can issue

bonds and provide related funding for student loans, and MOHELA is undoubtedly

focused on the furtherance of state-wide interests. There is nothing “local” about

MOHELA’s function or purpose.

      In summary, the first factor (character ascribed to MOHELA under state law)

and fourth factor (whether MOHELA is concerned with state-wide matters) clearly

support immunity. The second factor (MOHELA’s autonomy under state law) is

complex and contemplates a litany of considerations, but warrants a finding of

immunity. And finally, the third factor (MOHELA’s finances) favors immunity or

is neutral. These four primary factors support the finding that MOHELA is an arm

of the State of Missouri entitled to Eleventh Amendment immunity. Because the

proper balancing of this test is conclusive, there is no need to proceed further. The

district court’s well-reasoned decision should be affirmed.




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      Since the assessment of the four primary factors is dispositive, the Court need

not proceed to the second step of the analysis, which considers the “‘twin reasons’

underlying the Eleventh Amendment—avoiding an afront to the dignity of the state

and the impact of a judgment on the state treasury.” Hennessey, 53 F.4th at 528

(quoting Duke v. Grady Mun. Sch., 127 F.3d 972, 978 (10th Cir. 1997))

(quoting Hess v. Port Auth. Trans-Hudson Corp., 513 U.S. 30, 47 (1994)). Should

the Court do so, however, the “twin reasons” underlying the Eleventh Amendment

are, at best, neutral and do not change the overall conclusion.

      As for the first consideration, MOHELA is a public instrumentality of the

State of Missouri. It was created by special law of the Missouri legislature, is

overseen by a Governor-appointed and -controlled board, and is declared to be

exercising its powers, as conferred and limited by the State, in “the performance of

an essential public function.”     RSMo. § 173.360.        The Missouri legislature

“assigned” MOHELA to the MDHE, a state agency, and placed two MDHE officials

on MOHELA’s board. The State of Missouri also required MOHELA to make

annual financial reports to the MDHE. In summary, exercising federal jurisdiction

over MOHELA would act as an affront to the State of Missouri.

      The second consideration looks to the protection of the state treasury. While

the State of Missouri is not directly responsible in the first instance for a judgment

against MOHELA, the State has the power to impose financial obligations on



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MOHELA, and has done so as discussed herein; thus, a judgment against MOHELA

could impact the State of Missouri’s fisc. Even if this consideration is found to be

neutral or weigh against MOHELA, it is the only factor that falls in that category

and it is alone insufficient to tip the balance towards a finding against Eleventh

Amendment immunity.

                            STANDARD OF REVIEW

      The district court granted MOHELA’s motion for judgment on the pleadings

under FED. R. CIV. P. 12(c), which is the same standard applied to a motion to dismiss

for failure to state a claim under FED. R. CIV. P. 12(b)(6). Myers v. Koopman, 738

F.3d 1190, 1193 (10th Cir. 2013), as amended on denial of reh'g (Jan. 8, 2014). The

standard of review is “de novo.” Id.; see also Tomlinson v. El Paso Corp., 653 F.3d

1281, 1286 (10th Cir. 2011).

      Eleventh Amendment immunity is also a question of law reviewed de novo.

Hennessey, 53 F.4th at 527; Couser v. Gay, 959 F.3d 1018, 1026 (10th Cir. 2020).

Appellate courts “give deference to state court decisions regarding whether a given

entity is an arm of the state, but [they] do not view these rulings as dispositive.” Id.

(quoting Steadfast, 507 F.3d at 1253).




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                                    ARGUMENT

I.     The District Court Properly Entered Judgment For MOHELA Because
       It Is An Arm Of The State Of Missouri Entitled To Eleventh Amendment
       Immunity.

       A.    Eleventh Amendment immunity extends to arms of the state.

       The Eleventh Amendment to the U.S. Constitution provides that “[t]he

Judicial power of the United States shall not be construed to extend to any suit in

law or equity, commenced or prosecuted against one of the United States by Citizens

of another State, or by Citizens or Subjects of any Foreign State.” U.S. Const.

amend. XI. Though, by its terms, the Eleventh Amendment immunizes only “States”

against private actions brought by citizens of other states, see id., it is well

established that suits against ‘arms’ of a state may nonetheless be barred by the

Eleventh Amendment. See, e.g., Watson, 75 F.3d at 574 (“The arm-of-the-state

doctrine bestows [Eleventh Amendment] immunity on entities created by state

governments that operate as alter egos or instrumentalities of the states.”);

Hennessey, 53 F.4th at 527 (“In terms of scope, Eleventh Amendment immunity

extends to states and state entities but not to counties, municipalities, or other local

government entities.”) (quoting Steadfast, 507 F.3d at 1253); McCoy v. Kansas, No.

16-2129-JAR, 2016 WL 3549100, at *3 (D. Kan. June 30, 2016) (“This immunity

extends to state agencies functioning as arms of the state and applies regardless of

the type of relief sought.”).



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      Federal law governs whether an entity is an “arm of the state” such that it is

entitled to immunity under the Eleventh Amendment. Duke, 127 F.3d at 975; see

also Lightfoot v. Henry Cty. Sch. Dist., 771 F.3d 764, 771 (11th Cir. 2014) (“[I]t is

federal law, not state law, that ultimately governs whether an entity is immune under

the Eleventh Amendment.”). That federal question, however, “can be answered only

after considering the provisions of state law that define the agency’s character.”

Duke, 127 F.3d at 975 (quoting Regents of the Univ. of California v. Doe, 519 U.S.

425, 430 n. 5 (1997)); see also Hennessey, 53 F.4th at 528 (“Although ultimately a

matter of federal law, arm-of-the-state status must be determined in each case by

reference to the particular state laws characterizing the entity.”) (quoting Sturdevant

v. Paulsen, 218 F.3d 1160, 1164 (10th Cir. 2000)). Assessing Missouri’s statutory

framework pertaining to MOHELA, the Eighth Circuit Court of Appeals noted the

State’s characterization of MOHELA and stated recently that “MOHELA may well

be an arm of the State of Missouri under the reasoning of our precedent.” Nebraska

v. Biden, 52 F.4th 1044, 1047 (8th Cir. 2022).

      The law is settled in the Tenth Circuit that the proponent of a claim of arm of

the state immunity bears the burden to establish the same. See Hennessey, 53 F.4th

at 532. While the district court issued its decision prior to Hennessey, it assigned

the burden of proof to MOHELA. App. at 190. The district court also clarified that,

in resolving a motion for judgment on the pleadings, it could rely on affirmative



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defenses raised by MOHELA’s Answer, including statutes, of which the district

court could take judicial notice. App. at 189.

       B.       The Tenth Circuit’s four “primary factors” test is dispositive and
                warrants the conclusion that MOHELA is an arm of the State of
                Missouri.

       In assessing whether an entity is an arm of the state, the Tenth Circuit employs

a two-step process. Hennessey, 53 F.4th at 528; see also Duke, 127 F.3d at 978. “As

an initial, sometimes dispositive, step, [this Court] evaluate[s] four ‘primary factors’:

       First, we assess the character ascribed to the entity under state law.
       Simply stated, we conduct a formalistic survey of state law to ascertain
       whether the entity is identified as an agency of the state.

       Second, we consider the autonomy accorded the entity under state law.
       This determination hinges upon the degree of control the state exercises
       over the entity.

       Third, we study the entity's finances. Here, we look to the amount of
       state funding the entity receives and consider whether the entity has the
       ability to issue bonds or levy taxes on its own behalf.

       Fourth, we ask whether the entity in question is concerned primarily
       with local or state affairs. In answering this question, we examine the
       agency's function, composition, and purpose.”

Hennessey, 53 F.4th at 528 (quoting Steadfast, 507 F.3d at 1253) (double emphasis

in original).

       “If these factors are in conflict and point in different directions, a court should

proceed to the second step and consider the ‘twin reasons’ underlying the Eleventh

Amendment—avoiding an afront to the dignity of the state and the impact of a



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judgment on the state treasury.” Hennessey, 53 F.4th at 528 (quoting Duke, 127 F.3d

at 978) (quoting Hess, 513 U.S. at 47)).

      The district court applied the four factor test announced in Steadfast, as that

was the test more recently applied by the Tenth Circuit in Couser and within the

District of Kansas. App. 190. The district court ultimately concluded that the

balance of factors weighed in favor of the finding that MOHELA was entitled to arm

of the state Eleventh Amendment immunity. App. 190-195.

             1.     The first factor favors immunity because Missouri law treats
                    MOHELA as a part of state government.

      The first factor requires an assessment of “the character ascribed to the entity

under state law.” Steadfast, 507 F.3d at 1253; Hennessey, 53 F. 4th at 528. “Simply

stated, [the Court] conduct[s] a formalistic survey of state law to ascertain whether

the entity is identified as an agency of the state.” Hennessey, 53 F. 4th at 528 (citing

Steadfast, 507 F.3d at 1253). Missouri’s legislature created MOHELA by special

law “[i]n order to assure that all eligible postsecondary education students have

access to student loans that are guaranteed or insured, or both.” RSMo. § 173.360.

The law was later amended to provide for MOHELA’s support of “the efforts of

public colleges and universities to create and fund capital projects, and in order to

support the Missouri technology corporation’s ability to work with colleges and

universities” in certain endeavors. Id. MOHELA’s character is expressly defined

as follows: “[MOHELA] is hereby declared to be performing a public function and


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to be a separate public instrumentality of the state.” RSMo. § 173.415 (emphasis

added). Missouri statute further defines MOHELA as “a public instrumentality and

body corporate,” stating that “the exercise by [MOHELA] of [its] powers … shall

be deemed to be the performance of an essential public function.” RSMo. § 173.360.

Moreover, MOHELA “is assigned to” the MDHE,4 which is itself an executive

agency of the State of Missouri. RSMo. § 173.445.

      All of MOHELA’s board members are appointed directly or indirectly by the

Governor of Missouri. RSMo. § 173.360. Five members are appointed directly with

the advice and consent of the state senate. Id. The two other members are MDHE

officials. That is, the sixth member is a member of the Missouri Coordinating Board

for Higher Education (also appointed by the Governor), and the seventh member is

the Commissioner of Higher Education (appointed by the Coordinating Board), who

heads the MDHE. Id.; see Footnote 4. The Governor also has the authority to

remove any member of MOHELA’s board for cause. RSMo. § 173.360.

      Assessing Missouri law’s treatment of MOHELA, the district court correctly

concluded that “this factor weighs in favor of finding that MOHELA is an arm of



      4
        MDHE (now known as the Missouri Department of Higher Education and
Workforce Development) is overseen by the Missouri Coordinating Board for
Higher Education, which consists of nine members appointed by the Governor with
the advice and consent of the senate. RSMo. § 173.005. The Coordinating Board
appoints the Commissioner of Higher Education. RSMo. § 173.007.


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the state.” App. 191. The district court’s conclusion followed the decisions of other

lower courts, including the Northern District of Alabama in Gowens v. Capella

Univ., Inc., No. 4:19-CV-362-CLM, 2020 WL 10180669 (N.D. Ala. June 1, 2020).

Reviewing the nearly identical factor of “how state law defines the entity,” 5 the

Gowens court concluded that this “factor weighs heavily in MOHELA’s favor”

because “Missouri statutes unambiguously dictate MOHELA to be an ‘arm of the

state’ of Missouri.”6 Id. at *2 (emphasis added) (also noting that another federal

court held that “MOHELA is an ‘arm of the state’ of Missouri and thus dismissed

claims against MOHELA under the Eleventh Amendment) (citing In re Stout, 231

B.R. 313, 317 (Bankr. W.D. Mo. 1999)); see also Nebraska, 52 F.4th at 1047

(recently stating that “MOHELA may well be an arm of the State of Missouri under

the reasoning of our precedent.”).



      5
         “The Eleventh Circuit employs a four factor test to determine whether an
entity is an ‘arm of the State’: ‘(1) how state law defines the entity; (2) what degree
of control the State maintains over the entity; (3) where the entity derives its funds;
and (4) who is responsible for judgments against the entity.’” Gowens, 2020 WL
10180669, at *2 (quoting Manders v. Lee, 338 F.3d 1304, 1309 (11th Cir. 2003)).
      6
         The district court acknowledged the existence of other district court
decisions from outside the Tenth Circuit assessing whether MOHELA is an arm of
the state. App. 195. While there is significant overlap, the various Circuits have
articulated different tests for determining arm of the state status. The district court
correctly concluded that the Gowens decision, which employed the Eleventh
Circuit’s four factor test, was “more instructive” to the Court’s determination of
MOHELA’s arm of the state status because of the similarity between the Eleventh
Circuit’s and Tenth Circuit’s prevailing tests. App. 195.

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      On this point, Mr. Good rehashes similar arguments that the district court

properly rejected. For example, Mr. Good argues (Br. 25) that Missouri statute

declares that MOHELA is a “separate public instrumentality of the state.” RSMo.

§ 173.415 (emphasis added by Mr. Good). Mr. Good emphasizes the wrong

language. The more important word in the statute is that MOHELA is “a separate

public instrumentality of the state.” Id. (emphasis added). Of course, “of” is used

in the statute to express the relationship between the part, i.e., MOHELA, and the

whole, i.e., the State of Missouri. Mr. Good ignores that reality and mistakenly seeks

to seize on the word “separate” to argue that “of” should be replaced with “from,”

and thus that there is a physical separation between the part (MOHELA) and the

whole (State of Missouri). Mr. Good may wish to re-write the statute to replace “of”

with “from,” but that is simply not what the statute says. The district court

appropriately rejected Mr. Good’s argument, emphasizing the word “of” in reaching

the conclusion that Missouri statute treats MOHELA as an instrumentality “of the

state.” App. 191. And as the Gowens court concluded, the Missouri legislature’s

definition of MOHELA as a “public instrumentality of the state” is definitive. 2020

WL 10180669, at *2.

      Mr. Good also argues (Br. 24) that the legislature’s establishment of a separate

corporate body does not alone suggest that such a body is an arm of the state. But

that argument misses the point. MOHELA’s argument is not that its “body corporate



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and politic” status alone compels the conclusion that Missouri law treats MOHELA

as an arm of the state. To the contrary, MOHELA’s argument—accepted by the

district court—is that a holistic analysis of the Missouri statutes compels the

conclusion that Missouri ascribes to MOHELA the status of a state instrumentality.

      Mr. Good’s cited authorities are readily distinguishable from the plain

language of the Missouri statute at issue and do not rebut the district court’s correct

finding that the first factor supports the finding that MOHELA is an arm of the state.

For example, in Hess, the Supreme Court concluded that an interstate compact

authority and its implementing legislation did not “type the [Port Authority of New

York and New Jersey] as a state agency[,]” in part because various phrases were

used, including “joint or common agency[,] “body corporate and politic[,]” and

“municipal corporate instrumentality of the two states for the purpose of developing

the port and effectuating the pledge of the states in the ... compact.” 513 U.S. at 44-

45. But there, the New Jersey and New York statutes did not expressly qualify the

phrase “body corporate and politic” with “of the state” or “of the states.” 7 The same



      7
        See, e.g., N.J. Stat. Ann. § 32:1-4 (“There is hereby created ‘The Port of New
York Authority’ (for brevity hereinafter referred to as the ‘Port Authority’”), which
shall be a body corporate and politic, having the powers and jurisdiction hereinafter
enumerated, and such other and additional powers as shall be conferred upon it by
the Legislature of either State concurred in by the Legislature of the other, or by Act
or Acts of Congress, as hereinafter provided...”); N.Y. Unconsol. Law § 6404
(McKinney) (identical); N.J. Stat. Ann. § 32:1-7 (“The port authority shall constitute
a body, both corporate and politic, with full power and authority to purchase,

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is true of the California county at issue in Moor v. Alameda Cnty., 411 U.S. 693, 720

(1973) (citing Cal. Gov't Code § 23003) (“A county is a body corporate and politic,

has the powers specified in this title and such others necessarily implied from those

expressed”).

      Nor does the Supreme Court of Missouri’s decision in Menorah Med. Ctr. v.

Health & Educ. Facilities Auth., 584 S.W.2d 73 (Mo. 1979) support Mr. Good’s

argument. In Menorah Med. Ctr., the court considered whether the Missouri Health

and Educational Facilities Act, which created the Health and Educational Facilities

Authority of the State of Missouri (“MOHEFA”), contravened the Missouri and

United States Constitutions. The statute in question, enacted in 1975, established

MOHEFA as “a body politic” and a “public instrumentality and body corporate,”

exercising statutory authority in “the performance of an essential public function.”

RSMo. § 360.020. The statute establishing MOHELA, enacted in 1981, contains

similar language. RSMo. § 173.360. But importantly, while the Missouri legislature

stated that MOHEFA is “declared to be performing a public function in behalf of

the state and to be a public instrumentality of the state[,]” RSMo. § 360.085

(emphasis added), the Missouri legislature stated several years later that MOHELA

is “declared to be performing a public function and to be a separate public


construct, lease and/or operate any terminal or transportation facility within said
district[.]”); N.Y. Unconsol. Law § 6407 (McKinney) (identical).


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instrumentality of the state.” RSMo. § 173.415 (emphasis added). The contrast in

language is stark. “In behalf of” is commonly defined as “for the benefit of

someone” or “in support of someone.” See Merriam-Webster.com Dictionary,

https://www.merriam-webster.com/dictionary/on%20behalf%20of%20someone.

Accessed April 3, 2023. Based in part on this statutory language, the Supreme Court

of Missouri held that MOHEFA was “an entity apart from the state.” 584 S.W.2d at

82. But that holding does not compel a similar finding as it pertains to MOHELA,

where its statute lacks the “in behalf of” language.

      There are other significant differences between MOHEFA and MOHELA.

MOHEFA’s statutes do not impose limits on bond issuances like those imposed on

MOHELA by statute, and MOHELA’s statutes do not require state approval for the

sale of assets. MOHEFA does not regularly provide money to the State of Missouri,

while MOHELA does. The Missouri legislature has statutorily required MOHELA

to provide hundreds of millions of dollars to the State over the last 15 years and has

annually requested additional funds for scholarships and grants.          Importantly,

members of MOHEFA’s board do not include representatives from a state agency,

as compared to the two MDHE officials that sit on MOHELA’s board.

      In summary, Mr. Good argues (Br. 24-26) that the Missouri legislature’s

designation of MOHELA as a “body politic and corporate” does not alone mean that

MOHELA is an arm of the state, or alternatively that use of this phrase, which



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denotes a corporate status, undermines MOHELA’s arm of the state status. But Mr.

Good’s arguments simply ignore the Missouri legislature’s plain language that

MOHELA is a “public instrumentality of the state.” In interpreting similar “of the

state” language under the first factor of the Tenth Circuit test, other Tenth Circuit

district courts have held that this language weighs in favor of arm of the state

immunity. See, e.g., Patterson v. Rural Water Dist. 2, 438 F. Supp. 3d 1258, 1268-

69 (W.D. Okla. 2020) (finding that first factor of the test “weighs strongly in favor”

of a rural water district, created as “a body politic and corporate and an agency and

legally constituted authority of the State of Oklahoma”); Barnes v. Wagoner Cnty.

Rural Water Dist. No. 4, No. 15-CV-479-JHP, 2016 WL 1627622, at *2 (E.D. Okla.

Apr. 22, 2016) (noting that water district denoted as a “body politic and corporate

and an agency and legally constituted authority of the State of Oklahoma” is a state

agency).

      In interpreting the first factor, the district court also relied on the fact that

MOHELA’s income and property are exempt from state taxation under RSMo. §

173.415. App. 191. On this point, Mr. Good argues (Br. 27-28) that tax-exempt

status is not unique to arms of the state and is a status shared by many different types

of entities, including private entities.     But tax-exempt status is a factor for

consideration in the arm of the state analysis, and that status can weigh in favor of

immunity. See Karns v. Shanahan, 879 F.3d 504, 517 (3d Cir. 2018) (fact that



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defendant was exempt from state taxation weighed in favor of immunity); Aguon v.

Commonwealth Ports Auth., 316 F.3d 899, 903 (9th Cir. 2003) (in holding that the

defendant was a public entity, the court noted that the entity “is exempt from

taxation”). Mr. Good also ignores that the Gowens court also addressed this issue,

finding the fact that MOHELA’s property, income, bonds, and activities are exempt

from state taxation supported a finding of immunity. 2020 WL 10180669, at *3. 8

      In summary, this Court should not accept Mr. Good’s invitation to ignore the

plain, unambiguous language of Missouri statute.            MOHELA is expressly

characterized as a “public instrumentality of the state.” The district court correctly

concluded that the first factor weighed in favor of MOHELA’s arm of the state

status. App. 191. And Gowens went even further, stating that this “factor weighs

heavily in MOHELA’s favor.” 2020 WL 10180669, at *2.

             2.    The second factor favors immunity because the State of
                   Missouri possesses expansive control over MOHELA, which
                   has little autonomy.

      This Court recently described the “autonomy factor” as “the most complex of

the four factors because it spans a broad range of considerations.” Hennessey, 53

F.4th at 536. The autonomy determination “hinges upon the degree of control the



      8
        In its analysis of MOHELA’s “character” under state law, the district court
cited the fact that MOHELA’s board composition is exclusively designated by the
State. App. 191. Mr. Good (Br. at 28-9) addresses same. MOHELA submits that
analysis fits better within the consideration of Steadfast’s second factor.

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state exercises over the entity.” Id. at 528. This Court considers a litany of issues

in applying this factor, including: “(1) control of the entity by the governor and

legislature, (2) classification of the entity's employees, (3) the entity's ownership and

control over property, (4) the entity's ability to form contracts, (5) the entity's ability

to set policies, and (6) the ability of the entity to sue and be sued.” Id. at 536, n. 9.

To be clear, however, “[t]hese considerations are not an exhaustive list,” id., and the

Court will evaluate the “entire relationship” between the State of Missouri and

MOHELA. U.S. ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah, 472 F.3d

702, 720 (10th Cir. 2006), abrogated on other grounds by Cochise Consultancy, Inc.

v. United States ex rel. Hunt, 139 S. Ct. 1507, 1511-12 (2019).

       While MOHELA possesses some autonomy, it is significantly confined by

state control. That control is manifested in MOHELA’s Governor-appointed and

controlled leadership, MOHELA’s assignment to the MDHE (a state agency), the

MDHE’s oversight over MOHELA’s financial status, significant restrictions and

limitations on MOHELA’s ability to raise funds and sell assets, and other hallmarks

of state agencies, like public meetings requirements. See RSMo. §§ 173.360,

173.445, 173.385.1, 173.392, 173.387, 173.390, and 610.020. The issuance of bonds

is MOHELA’s funding source, yet MOHELA is tightly limited in setting the terms

that can be included in such bonds (RSMo. §§ 173.395, 173.405, 173.410) and by

MDHE’s necessary approval of the collateral (pledge of loans to secure such bonds)



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because such a pledge is considered a sale of the loans, since it could lead to loss of

the loans if the collateral is foreclosed upon. RSMo. § 173.385.1(8).

      The Missouri legislature created MOHELA and the Governor appoints and

controls MOHELA’s leadership. An initial consideration is the role the state

executive branch and legislature play in the operations of the entity. Hennessey, 53

F.4th at 536. At a baseline level, a structure where “the [G]overnor and legislature

respectively appoint and confirm members of the board that oversees the entity [...]

weighs against the entity's autonomy from the state.” Id. at 537. The statute creating

MOHELA meets this requirement, as MOHELA “shall consist of seven members,

five of whom shall be appointed by the [G]overnor by and with the advice and

consent of the senate[,]” with the other two members being indirectly appointed by

the Governor because one is a member of Missouri’s Coordinating Board for Higher

Education (appointed by the Governor) and the final board member is the

Commissioner of the MDHE (appointed by the Coordinating Board for Higher

Education). RSMo. § 173.360. The district court correctly assessed MOHELA’s

leadership, stressing that “MOHELA’s seven-member board is controlled by the

state.” App. 191. See also Gowens, 2020 WL 10180669, at *2 (“The State of

Missouri selects and controls MOHELA's seven-member board of directors; five are

appointed by the Governor of Missouri, one is a designee from the Missouri

Coordinating Board for Higher Education [also appointed by the Governor], and the



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final board member is the Commissioner of the MDHE [appointed by the

Coordinating Board].”) (citing RSMo. § 173.360).

      Other considerations underscore Missouri’s control over MOHELA. The

Missouri legislature established MOHELA’s powers, see RSMo. §173.385, and in

doing so controls MOHELA by limiting it to only those powers. Missouri also

“assigned” MOHELA to the MDHE, itself an executive agency of the State, and

placed two MDHE officials on MOHELA’s board. RSMo. § 173.445. MOHELA’s

meetings are also public and subject to Missouri’s Sunshine Law. See RSMo.

§ 173.365 (“Each meeting of the authority for any purpose whatsoever shall be open

to the public. Notice of meetings shall be given as provided in the bylaws of the

authority. The proceedings and actions of the authority shall comply with all

statutory requirements respecting the conduct of public business by a public

agency.”); RSMo. § 610.020.

      Mr. Good speculates (Br. 29) that members of MOHELA’s board “do not

represent state interests exclusively” and instead represent “private interests or non-

state public interests.”   But that is plainly incorrect.     Missouri statute states

definitively that MOHELA’s exercise of its powers, as granted and limited by the

Missouri legislature, is the “performance of an essential public function.” RSMo. §

173.360 (emphasis added). Moreover, MOHELA is the only state entity that can

issue debt to finance student loans. Even if Mr. Good’s point was not wrong, the



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question remains whether the executive branch and legislature appoint and have

control over MOHELA within the meaning of the arm of the state analysis. 9 That

question is clearly answered in MOHELA’s favor.

      The classification of MOHELA’s employees. Consistent with its non-profit

status, MOHELA’s board members serve on a volunteer basis. They are not

compensated for their work, and are only eligible for expense reimbursements.

RSMo. § 173.365. The MOHELA board appoints a secretary and a treasurer who,

if not a member of MOHELA, may receive compensation from MOHELA, and the

board also appoints an executive director, who is compensated by MOHELA.

RSMo. § 173.370(1). The “powers and duties” of the executive director are fixed

by a MOHELA duly-adopted resolution. Id. The Executive Director may then hire

all additional employees as needed to carry out MOHELA’s functions and purposes,

and they receive compensation fixed by MOHELA. Id., at § 173.370(2). While it

is true that the compensation for MOHELA’s executive director, secretary, and

treasurer does not come directly from state coffers, this compensation is still set by

the MOHELA board, which is entirely appointed and controlled by the Governor.




      9
       Mr. Good argues (Br. 28-9) that the same could be said for MOHEFA, which
was found to an “entity apart from the state.” Menorah Med. Ctr, 584 S.W. at 82.
Menorah Med. Ctr. did not meaningfully analyze the composition of MOHEFA’s
board nor its impact on the arm of the state analysis.

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      MOHELA can own property, but subject to state control. MOHELA does

have the ability to own and control property. See, e.g., RSMo. § 173.385(5)

(MOHELA may “maintain an office at such place or places in the state of Missouri

as it may designate[.]”); RSMo. § 173.385(14) (MOHELA may “acquire, hold and

dispose of personal property to carry out its purposes[.]”). But these rights are

subject to significant restrictions imposed by the State of Missouri, as recognized by

the district court. For example, the State of Missouri imposes restrictions on how

MOHELA conducts business, including (i) limitations on investments (RSMo. §

173.385.1(13)) and the contingency that the MDHE approve MOHELA’s ability to

sell student loans (RSMo. § 173.385.1(8)), which is needed for MOHELA’s bond

financing, (ii) required distributions to the LCD Fund (RSMo. § 173.392), (iii)

limitations on Stafford loan origination (RSMo. § 173.387), (iv) limitations on the

types, terms, and nature of bond issuances (RSMo. § 173.390), and (v) required

compliance with Missouri’s Sunshine Law (RSMo. § 610.020).                  Similarly,

MOHELA must file an annual report with the MDHE of its previous year’s income,

expenditures, and bonds or other forms of indebtedness issued and outstanding.

RSMo. § 173.445. Finally, the State of Missouri preserved its authority “over assets

of” MOHELA, RSMo. §173.420, and may “abolish” MOHELA at its pleasure. See

Cas. Reciprocal Exch. v. Missouri Emps. Mut. Ins. Co., 956 S.W.2d 249, 255 (Mo.




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banc 1997) (noting that State could abolish public corporation by repealing act or

setting terms of public corporation’s dissolution).

      MOHELA can enter into contracts approved by the Governor-appointed

board. MOHELA is vested with the ability to enter into contracts to carry out its

purpose. RSMo. § 173.385.1(11). But MOHELA’s autonomy to do so is expressly

limited by the requirement that those contracts be approved by a quorum of

MOHELA’s board, appointed by and subject to the Governor’s control. See RSMo.

§ 173.365 (“Four members of the Authority shall constitute a quorum for the purpose

of conducting business and exercising the powers of the Authority. Action may be

taken by the authority upon the affirmative vote of at least four of its members.”).

Thus, while MOHELA does have the ability to enter into contracts, its autonomy

and discretion to do so is subject to state control by virtue of the constituency of

MOHELA’s board.

      MOHELA may establish and set policies to further its “essential public

function,” subject to statutory limitations. MOHELA is authorized to “adopt bylaws

for the regulation of its affairs and the conduct of its business,” RSMo. §

173.385.1(11), as well as to enact policies to further its state-mandated purposes.

Nevertheless, the State of Missouri imposes restrictions on how MOHELA conducts

business and its policy-making as it pertains to its business, including (i) limitations

on investments (RSMo. § 173.385.1(13)), (ii) required distributions to the LCD Fund



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(RSMo. § 173.392), (iii) limitations on Stafford loan origination (RSMo. § 173.387),

and (iv) limitations on the type, terms, and nature of bond issuances (RSMo. §

173.390).

      MOHELA can “sue and be sued” only in a court having jurisdiction. RSMo.

§ 173.385(3) vests MOHELA with the power “[t]o sue and be sued and to prosecute

and defend, at law or in equity, in any court having jurisdiction of the subject

matter and of the parties.” (emphasis added). This ability alone, however, does not

compel the conclusion that an entity is not an arm of the state. See, e.g., State

Highway Comm'n of Wyoming v. Utah Const. Co., 278 U.S. 194, 197-99 (1929)

(finding suit was “in effect, against the state” even where statute provided entity

could sue or be sued). The Eighth Circuit Court of Appeals acknowledged this very

same factor and held that the ability to sue or be sued did not “preclude a finding

that [the entities] are arms of the State of Missouri,” where state statutes greatly

restricted the entities’ operational independence and extensively regulated the way

the entities carry out their limited purpose. Pub. Sch. Ret. Sys. of Missouri v. State

St. Bank & Tr. Co., 640 F.3d 821, 827-28 (8th Cir. 2011).

      On balance, the autonomy factor boils down to the degree of control that the

State of Missouri exercises over MOHELA, and tilts towards the conclusion that

MOHELA is an arm of the state. The autonomy factor is “complex” in view of its

assessment of a “broad range of considerations.” Hennessey, 53 F.4th at 536. But



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“[t]hese considerations are not an exhaustive list,” and the final determination

“hinges upon the degree of control the state exercises over the entity.” Id. at 528,

536, n. 9 (quoting Steadfast, 507 F.3d at 1253). The district court reviewed a host

of these considerations and, after properly balancing the same, concluded that “the

control that the state exercises over MOHELA through the appointment of the board,

limitations on financial expenditures, and requirements for spending and filing

reports weighs slightly in favor of finding that MOHELA is an arm of the state.”

App. 192. Similarly, the Gowens court concluded MOHELA’s autonomy was “not

a close question” because “[t]he State of Missouri exercises significant oversight

over MOHELA’s decision-making and statutorily regulates MOHELA’s functions

and operations, including its leadership.” 2020 WL 10180669, at *3. While it is a

“complex” factor that “spans a broad range of considerations,” the district court

properly concluded that MOHELA is subject to significant state control and has

limited autonomy. This Court should reach the same conclusion.

            3.     The third factor, assessing MOHELA’s finances, favors
                   immunity or alternatively is neutral because MOHELA
                   depends on state authorization to derive its funds, is subject
                   to state requirements and requests for funds, and the state
                   restricts MOHELA’s ability to generate revenue.

      “In considering the finances factor a court must look to ‘the amount of state

funding the entity receives and consider whether the entity has the ability to issue

bonds or levy taxes on its own behalf.’” Hennessey, 53 F.4th at 533 (quoting



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Steadfast, 507 F.3d at 1253). “[I]f an entity cannot levy taxes and its ability to issue

bonds is subject to state review or state procedures, this is also an indicator that the

entity is an arm of the state.” Id. (emphasis in original). “[A]n entity's ability to

generate its own revenue so as not to need financial assistance from the state supports

a finding that the entity is not an arm of the state.” Id. “Finally, we consider the

existence, or lack thereof, of regulations on how an entity may handle its finances

and whether the entity's funds are classified as ‘public funds.’” Id. (quoting

Steadfast, 507 F.3d at 1254).

      MOHELA does not receive direct funding from the State of Missouri. Nor

does MOHELA have the right to levy taxes. MOHELA does have the ability to

issue bonds; however, that authority is subject to limitations on the nature of bond

issuances to revenue bonds (RSMo. § 173.390), the use of proceeds to finance

student loans (RSMo. § 173.385(7)), to sell student loans only with state approval

(RSMo. § 173.385(8)), and mandatory annual reporting of its bond issuances and

other forms of indebtedness to the MDHE (RSMo. § 173.445). Absent the statutory

mandate to ensure that Missouri postsecondary students have access to student loans,

MOHELA would have no source of funds. MOHELA’s funding is, therefore,

inextricably tied to the State of Missouri where its ability to issue bonds is subject

to state limitations and review, and where MOHELA cannot levy taxes.                  See

Hennessey, 53 F.4th at 533 (“Likewise, if an entity cannot levy taxes and its ability



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to issue bonds is subject to state review or state procedures, this is also an indicator

that the entity is an arm of the state.”) (citing Sturdevant, 218 F.3d at 1170)

(emphasis in original). Moreover, the State of Missouri can, and has, imposed

financial obligations on MOHELA, such as it did in 2007 when it required

MOHELA to transfer $350 Million to the State via the LCD Fund. See RSMo. §

173.385.2. Finally, the State of Missouri has requested and MOHELA has provided

$93 Million in scholarships and grant funding between 2010 and 2022.                  See

https://perma.cc/4GR3-MDLD, at 10 (Accessed April 3, 2023). At the State’s

request, and as evidence of the continuing nature of MOHELA’s contributions,

MOHELA is scheduled to provide another $6 Million in July 2023.

      The Gowens court considered MOHELA’s source of funding, noting that

“[w]hile MOHELA does not derive its funds directly from the State of Missouri, its

ability to earn revenue arises from and depends on the authority granted to it by the

Missouri legislature under the Missouri Higher Education Loan Authority Act.”

2020 WL 10180669, at *3. “The Act mandates that MOHELA ensure that Missouri

students have access to student loans.” Id. “As a result, MOHELA can earn fees for

servicing loans on behalf of [USDOE] and earn income by holding and servicing

MOHELA-owned student loans and servicing student loans made by private

lenders.”   Id. “Because Missouri law enables MOHELA to derive its funds,




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MOHELA's funding is directly linked to the State of Missouri.” Id. In the end, the

Gowens court concluded that the factor “leans slightly in MOHELA's favor.” Id.

      The district court assessed MOHELA’s finances and initially concluded that

because “MOHELA does not receive state funding, can issue bonds (although

circumscribed by the state), and cannot levy taxes[,] ... this consideration is neutral

to slightly in favor of immunity.” App. 193. The district court then considered,

however, whether a judgment against MOHELA would be satisfied by the state

treasury. Id. Finding that any such liability would be indirect, the district court

concluded that this consideration weighed against a finding of Eleventh Amendment

immunity. Finding this latter consideration an “important one,” the district court

held that the third factor weighed against immunity. App. 194.

      Following the district court’s decision, this Court decided Hennessey and

clarified the prevailing test in this Circuit for arm of the state immunity. This inquiry

regarding “whether a judgment against MOHELA would be satisfied by the state

treasury” was not central to the Court’s consideration of the third “finances factor”;

rather, this consideration is found in the “second step” of the test, consideration of

the “twin reasons” underlying the Eleventh Amendment, which come into play if the

primary four factors “are in conflict and point in different directions.” Hennessey,

53 F.4th at 528. Thus, consistent with this Court’s recent opinion in Hennessey,

MOHELA respectfully submits that the district court’s original inkling that the



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“finances factor” “is neutral to slightly in favor of immunity” should have prevailed.

App. 193.

      In summary, MOHELA respectfully submits that the best analysis supports

the conclusion that the third “finances factor” weighs in favor of immunity or is

neutral.

             4.     The fourth factor decidedly favors immunity because
                    MOHELA is concerned primarily with state-wide affairs.

      As to the fourth factor, the Court asks “whether the entity in question is

concerned primarily with local or state affairs.” Hennessey, 53 F.4th at 528 (quoting

Steadfast, 507 F.3d at 1253). “In answering this question, [the Court] examine(s)

the agency's function, composition, and purpose.” Id. This factor weighs decidedly

in favor of the conclusion that MOHELA is entitled to arm of the state immunity.

      MOHELA’s main function is as the sole state entity devoted to student loan

financing and to “assure that all eligible postsecondary education students have

access to student loans that are guaranteed or insured, or both[.]” RSMo. § 173.360.

This is a state-wide, not local, mission. The composition of MOHELA’s board is

entirely appointed, either directly or indirectly, by the Governor of Missouri, and its

board members come from various geographic parts of the State of Missouri. Id.

Finally, another function or purpose of MOHELA is to “support the efforts of public

colleges and universities to create and fund capital projects, and in order to support

the Missouri technology corporation's ability to work with colleges and universities


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in identifying opportunities for commercializing technologies, transferring

technologies, and to develop, recruit, and retain entities engaged in innovative

technologies[.]” Id. This activity triggers state-wide concerns, not local city or

county matters, as found by the district court. App. 194-195; see also MAP v. Bd.

of Trustees, No. 12-CV-02666-RM-KLM, 2013 WL 5386897, at *9 (D. Colo. Aug.

21, 2013), report and recommendation adopted sub nom. MAP v. Bd. of Trustees for

Colorado Sch. for the Deaf & Blind, No. 12-CV-02666-RM-KLM, 2014 WL

3748185, at *9 (D. Colo. July 29, 2014) (finding factor weighed in favor of arm-of

the state status because the Colorado School for the Deaf and the Blind and its board

of trustees were created by the legislature to assist deaf and blind children residing

in the state and to be a resource for state institutions). There is nothing about

MOHELA that is in any way concerned with purely local affairs.

      In the briefing before the district court, Mr. Good did not even address this

factor. App. 117-130; App. 164. The district court properly noted that MOHELA

was focused on “statewide matters[,]” and concluded that this factor weighed in

MOHELA’s favor. 194-95. And Mr. Good’s opening brief gives short shrift to this

factor, effectively conceding that it falls in MOHELA’s favor.

      Mr. Good concedes MOHELA’s function and purpose to fund state-wide

capital projects, but argues (Br. 42-3) that this factor is neutralized by the fact that

MOHELA services student loans for “students throughout the country” and is



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engaged in “nationwide activity.”10 But the fact that MOHELA services student

loans for borrowers outside Missouri does not alter the conclusion. MOHELA’s

function and purpose is to further educational interests of the State of Missouri. The

fourth factor weighs in favor of Eleventh Amendment immunity.

      In summary, MOHELA submits that the “primary” four factor test weighs in

favor of MOHELA’s entitlement to Eleventh Amendment immunity as an arm of

the State of Missouri. The first factor (character ascribed to MOHELA under state

law) clearly favors immunity. App. 191; Gowens, 2020 WL 10180669, at *2. The

second factor (MOHELA’s autonomy) is nuanced, but the underlying consideration

of “the degree of control the state exercises” over MOHELA favors of immunity.

App. 191; Gowens, 2020 WL 10180669, at *3 (“MOHELA’s autonomy, by contrast,

is not a close question.”). The third factor (MOHELA’s finances) should weigh in

favor of immunity or be neutral. Gowens, 2020 WL 10180669, at *4. And finally,

the fourth factor (whether MOHELA is concerned with state-wide matters)

definitively favors immunity. App. 194-195. These four primary factors support

the finding that MOHELA is an arm of the State entitled to Eleventh Amendment




      10
          Mr. Good’s reliance (Br. 42) on Sikkenga is misplaced. The entity in
question in that case, Associated Regional and University Pathologists, was not
registered as a non-profit, issued stock, was licensed in nine states, and marketed its
services to all fifty states. 472 F.3d at 719.


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immunity. The district court’s well-reasoned analysis and decision should be

affirmed.11

      C.      The Court need not proceed to the second step of the analysis, the
              “twin reasons” underlying the Eleventh Amendment, but those
              considerations do not sway the ultimate result that MOHELA is an
              arm of the state.

      Because the four “primary factors” are not in conflict and are dispositive, the

Court need not proceed to the second step of the analysis. Should the Court do so,

however, the “twin reasons” underlying the Eleventh Amendment are, at best,

neutral.

      The first consideration is “avoiding an afront to the dignity of the state.”

Hennessey, 53 F.4th at 529.         As addressed supra, MOHELA is a public



      11
         In addition, the district court’s decision and the Gowens decision are in line
with a number of cases around the country involving student loan-related entities
(like MOHELA) holding that Eleventh Amendment immunity protects such entities
from private suits under federal consumer protection statutes in the student loan
context. See, e.g., Kozaczek v. New York Higher Educ. Services Corp., 503 Fed.
Appx. 60 (2d Cir. 2012) (New York Higher Education Services Corporation was a
state agency, and the Eleventh Amendment barred debtor’s FDCPA claim); Gordon
v. Duncan, 2010 WL 1462555 (D.Or. 2010) (California Student Aid Commission is
an agency of the state and the Board of Trustees of California State University is an
“arm of the state” and both state entities are entitled to sovereign immunity from
debtor’s claims under FDCPA and certain other federal statutes); Little v. Tennessee
Student Assistance Corp., 537 F. Supp. 2d 942 (W.D. Tenn. 2008) (Tennessee
Student Assistance Corporation is a state entity entitled to sovereign immunity from
debtor’s claims under FDCPA); Sorrell v. Illinois Student Assistance Comm’n, 314
F. Supp. 2d 813 (C.D. Ill. 2004) (Illinois Student Assistance Commission is a state
agency, and therefore debtor’s claims under the FDCPA and the FCRA are barred
by the Eleventh Amendment).

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instrumentality of the State of Missouri. “Government-created and -controlled

corporations are” often “part of the Government itself.” Lebron v. Nat’l R.R.

Passenger Corp., 513 U.S. 374, 397 (1995). Such corporations exist when the

Government (1) “creates [the] corporation by special law,” (2) “for the furtherance

of governmental objectives,” and (3) “retains for itself permanent authority to

appoint a majority of the directors.” Id. at 399.       “[T]he practical reality of

[government] control and supervision prevails” over corporate labels. Dep’t of

Transp. v. Ass’n of Am. Railroads, 575 U.S. 43, 55 (2015).

      First, the Missouri legislature created MOHELA by special law. RSMo. §

173.360. Second, Missouri declares that “the exercise by [MOHELA] of the powers

conferred” on it, which include ensuring access to loans for Missouri students, is

“the performance of an essential public function.” Id. Third, the Governor appoints

five of MOHELA’s seven board members, the remaining two are officials of the

MDHE, the state agency to which MOHELA is “assigned,” and all seven are

“remov[able] by the governor” for cause. Id.

      Other considerations demonstrate the State of Missouri’s ongoing control over

MOHELA, an entity it created. The State established MOHELA’s powers, RSMo. §

173.385, and in doing so controls MOHELA by limiting it to only those powers.

Missouri “assigned” MOHELA to the MDHE, to which MOHELA must make

annual financial reports of MOHELA’s finances and which controls the sale of



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MOHELA’s loans. RSMo. § 173.445, RSMo. § 173.385.1(8). The State of Missouri

has required MOHELA to contribute hundreds of millions of dollars to state

initiatives, including the LCD Fund and state scholarship and grant programs.

Additionally, Missouri preserved its authority “over assets of” MOHELA, RSMo. §

173.420, and may “abolish” MOHELA at its pleasure, see Cas. Reciprocal Exch.,

956 S.W.2d at 255. Notably, MOHELA qualifies as a “public entity” entitled to

sovereign immunity from tort claims under state law.         Id. at 254 (discussing

sovereign-immunity factors); see also Dykes v. Missouri Higher Educ. Loan Auth.,

No. 4:21-CV-00083-RWS, 2021 WL 3206691, at *6 (E.D. Mo. July 29, 2021)

(finding that MOHELA, as a public entity, was entitled to immunity under Missouri

statute for tort claims); Todd v. Curators of Univ. of Missouri, 147 S.W.2d 1063,

1064 (Mo. 1941) (finding immunity for entity that “may sue and be sued”).

      Mr. Good does not offer persuasive arguments that the exercise of federal

jurisdiction would not impose an affront to the dignity of the State of Missouri. In

addition to rehashing his prior arguments, Mr. Good cites (Br. 45) to U.S. ex rel.

Oberg v. Pennsylvania Higher Educ. Assistance Agency, 804 F.3d 646, 677 (4th Cir.

2015), a Fourth Circuit Court of Appeals decision employing a different Eleventh

Amendment immunity test and analyzing the Pennsylvania Higher Education

Assistance Agency (“PHEAA”). The Oberg court’s conclusion that exercising

federal jurisdiction over PHEAA was not “an affront to Pennsylvania’s sovereign



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dignity” rested on the court’s conclusion that neither the Governor nor legislature

set PHEAA’s policies or fiscal and operational decisions. 804 F.3d at 659-60, 677.

But unlike PHEAA, the State of Missouri imposes significant control on MOHELA,

as discussed herein, and expressly limits MOHELA’s financial and operational

independence. Oberg does not support Mr. Good’s arguments here. Put simply,

exercising federal jurisdiction over MOHELA would act as an affront to the State of

Missouri.

      The second consideration is “avoiding state liability for any judgment against

the entity.” Hennessey, 53 F.4th at 528. While the State of Missouri is not directly

responsible in the first instance for a judgment against MOHELA, a judgment

against MOHELA could impact the State of Missouri’s fisc.

      MOHELA transfers money to Missouri in two ways. First, the State of

Missouri has the power to require MOHELA to transfer funds, as it did in 2007 when

it created the LCD Fund. MOHELA has given $245 million to the State’s LCD

Fund. RSMo. § 173.392.2(1); “Financial Statements: Higher Education Loan

Authority of the State of Missouri As of and for the Years Ended June 30, 2022 and

2021 With Reports of Independent Auditors,” MOHELA, at 20, available at

https://perma.cc/2F8G-WWWV (Accessed April 3, 2023); RSMo. § 173.385.2

Second, Missouri has authorized MOHELA to provide student financial aid, RSMo.

§173.385.1(19), and MOHELA has done so by contributing, at the Governor’s



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request, nearly $100 million over the last 12 years to the State’s scholarship and

grant programs. See “Grants and Scholarships,” MISSOURI DEP’T OF HIGHER EDUC.

AND   WORKFORCE DEVELOPMENT, https://perma.cc/4GR3-MDLD, (listing the

State’s programs) (Accessed April 3, 2023). As recently noted by the Eighth Circuit

Court of Appeals, “financial impact on MOHELA ... threatens to independently

impact Missouri” by preventing or delaying MOHELA’s contributions to “the LCD

Fund.” Nebraska, 52 F.4th at 1047. A judgment against MOHELA threatens

financial injury to the State of Missouri. With that said, MOHELA acknowledges

this Court’s recent statement that “[t]he focus of this judgment liability issue is on

direct legal liability and not on any indirect or practical loss of funds to the state.”

Hennessey, 53 F.4th at 529.

          Even if this final “reason” in the immunity test is found to weigh against

MOHELA, it is the only factor that falls in that category. Thus, this factor alone is

insufficient to tip the balance towards a finding against MOHELA’s arm of the state

status.

                                    CONCLUSION

          The district court did not err in finding that the MOHELA is an arm of the

State of Missouri entitled to Eleventh Amendment immunity. Judgment on the

pleadings in MOHELA’s favor was proper, and the district court’s order should be

affirmed.



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April 6, 2023                       Respectfully submitted,
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                                    Missouri




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                  STATEMENT REGARDING ORAL ARGUMENT

      Mr. Good requested oral argument. As Mr. Good indicated, districts courts

have reached conflicting decisions on MOHELA’s arm of the state status. As to the

claim against USDOE, various circuit courts have reached conflicting decisions on

the question of whether the FCRA waives federal agencies’ sovereign immunity.

Thus, oral argument would be beneficial to the Court’s consideration and resolution

of this appeal.




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the forgoing brief complies with the type-volume

limitations of FRAP 32(a)(7)(B). The brief is composed in a 14-point proportional

typeface, Times New Roman. As calculated by my word processing software

(Microsoft Word, Version 2202), the brief (excluding those parts permitted to be

excluded under the Federal Rules of Appellate Procedure and this Court’s rules),

contains 10,746 words.


                                              /s/ Matthew D. Guletz
                                              Matthew D. Guletz




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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 6, 2023, I electronically filed the foregoing with

the Clerk of the United States Court of Appeals for the Tenth Circuit by using the

CM/ECF system. I further certify that all participants in the case are registered

CM/ECF users who will be served by the appellate CM/ECF system.

                                                 /s/ Matthew D. Guletz
                                                 Matthew D. Guletz




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                             ADDENDUM
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                            STATUTORY ADDENDUM
RSMo. § 173.005 provides:
1. There is hereby created a “Department of Higher Education and Workforce
Development”, and the division of higher education of the department of education
is abolished and all its powers, duties, functions, personnel and property are
transferred as provided by the Reorganization Act of 1974, Appendix B, RSMo.

2. The commission on higher education is abolished and all its powers, duties,
personnel and property are transferred by type I transfer to the “Coordinating Board
for Higher Education”, which is hereby created, and the coordinating board shall be
the head of the department. The coordinating board shall consist of nine members
appointed by the governor with the advice and consent of the senate, and not more
than five of its members shall be of the same political party. None of the members
shall be engaged professionally as an educator or educational administrator with a
public or private institution of higher education at the time appointed or during his
term. Moreover, no person shall be appointed to the coordinating board who shall
not be a citizen of the United States, and who shall not have been a resident of the
state of Missouri two years next prior to appointment, and at least one but not more
than two persons shall be appointed to said board from each congressional district.
The term of service of a member of the coordinating board shall be six years and
said members, while attending the meetings of the board, shall be reimbursed for
their actual expenses. Notwithstanding any provision of law to the contrary, nothing
in this section relating to a change in the composition and configuration of
congressional districts in this state shall prohibit a member who is serving a term on
August 28, 2011, from completing his or her term. The coordinating board may, in
order to carry out the duties prescribed for it in subsections 1, 2, 3, 7, and 8 of this
section, employ such professional, clerical and research personnel as may be
necessary to assist it in performing those duties, but this staff shall not, in any fiscal
year, exceed twenty-five full-time equivalent employees regardless of the source of
funding. In addition to all other powers, duties and functions transferred to it, the
coordinating board for higher education shall have the following duties and
responsibilities:

(1) The coordinating board for higher education may approve, not approve, or
provisionally approve proposed new degree programs to be offered by the state
institutions of higher education. The coordinating board may authorize a degree
program outside an institution's coordinating board-approved mission only when the
coordinating board has received clear evidence that the institution proposing to offer
the program:

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(a) Made a good-faith effort to explore the feasibility of offering the program in
collaboration with an institution the mission of which includes offering the program;

(b) Is contributing substantially to the goals in the coordinating board's coordinated
plan for higher education;

(c) Has the existing capacity to ensure the program is delivered in a high-quality
manner;

(d) Has demonstrated that the proposed program is needed;

(e) Has a clear plan to meet the articulated workforce need; and

(f) Such other factors deemed relevant by the coordinating board;

(2) The governing board of each public institution of higher education in the state
shall have the power and authority to confer degrees in chiropractic, osteopathic
medicine, and podiatry only in collaboration with the University of Missouri,
provided that such collaborative agreements are approved by the governing board of
each institution and that in these instances the University of Missouri will be the
degree-granting institution. Should the University of Missouri decline to collaborate
in the offering of such programs, any of these institutions may seek approval of the
program through the coordinating board for higher education's comprehensive
review process when doing so would not unnecessarily duplicate an existing
program, collaboration is not feasible or a viable means of meeting the needs of
students and employers, and the institution has the academic and financial capacity
to offer the program in a high quality manner;

(3) The coordinating board for higher education may promote and encourage the
development of cooperative agreements between Missouri public four-year
institutions of higher education which do not offer graduate degrees and Missouri
public four-year institutions of higher education which do offer graduate degrees for
the purpose of offering graduate degree programs on campuses of those public four-
year institutions of higher education which do not otherwise offer graduate degrees.
Such agreements shall identify the obligations and duties of the parties, including
assignment of administrative responsibility. Any diploma awarded for graduate
degrees under such a cooperative agreement shall include the names of both
institutions inscribed thereon. Any cooperative agreement in place as of August 28,
2003, shall require no further approval from the coordinating board for higher
education. Any costs incurred with respect to the administrative provisions of this

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subdivision may be paid from state funds allocated to the institution assigned the
administrative authority for the program. The provisions of this subdivision shall not
be construed to invalidate the provisions of subdivision (1) of this subsection;

(4) In consultation with the heads of the institutions of higher education affected and
against a background of carefully collected data on enrollment, physical facilities,
manpower needs, and institutional missions, the coordinating board for higher
education shall establish guidelines for appropriation requests by those institutions
of higher education; however, other provisions of the Reorganization Act of 1974
notwithstanding, all funds shall be appropriated by the general assembly to the
governing board of each public four-year institution of higher education which shall
prepare expenditure budgets for the institution;

(5) No new state-supported senior colleges or residence centers shall be established
except as provided by law and with approval of the coordinating board for higher
education;

(6) The coordinating board for higher education shall establish admission guidelines
consistent with institutional missions;

(7) The coordinating board for higher education shall require all public two-year and
four-year higher education institutions to replicate best practices in remediation
identified by the coordinating board and institutions from research undertaken by
regional educational laboratories, higher education research organizations, and
similar organizations with expertise in the subject, and identify and reduce methods
that have been found to be ineffective in preparing or retaining students or that delay
students from enrollment in college-level courses;

(8) The coordinating board shall establish policies and procedures for institutional
decisions relating to the residence status of students;

(9) The coordinating board shall establish guidelines to promote and facilitate the
transfer of students between institutions of higher education within the state and,
with the assistance of the committee on transfer and articulation, shall require all
public two-year and four-year higher education institutions to create by July 1, 2014,
a statewide core transfer library of at least twenty-five lower division courses across
all institutions that are transferable among all public higher education institutions.
The coordinating board shall establish policies and procedures to ensure such
courses are accepted in transfer among public institutions and treated as equivalent
to similar courses at the receiving institutions. The coordinating board shall develop

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a policy to foster reverse transfer for any student who has accumulated enough hours
in combination with at least one public higher education institution in Missouri that
offers an associate degree and one public four-year higher education institution in
the prescribed courses sufficient to meet the public higher education institution's
requirements to be awarded an associate degree. The department of elementary and
secondary education shall maintain the alignment of the assessments found in
section 160.518 and successor assessments with the competencies previously
established under this subdivision for entry-level collegiate courses in English,
mathematics, foreign language, sciences, and social sciences associated with an
institution's general education core;

(10) The coordinating board shall collect the necessary information and develop
comparable data for all institutions of higher education in the state. The coordinating
board shall use this information to delineate the areas of competence of each of these
institutions and for any other purposes deemed appropriate by the coordinating
board;

(11) Compliance with requests from the coordinating board for institutional
information and the other powers, duties and responsibilities, herein assigned to the
coordinating board, shall be a prerequisite to the receipt of any funds which the
coordinating board is responsible for administering;

(12) If any institution of higher education in this state, public or private, willfully
fails or refuses to follow any lawful guideline, policy or procedure established or
prescribed by the coordinating board, or knowingly deviates from any such
guideline, or knowingly acts without coordinating board approval where such
approval is required, or willfully fails to comply with any other lawful order of the
coordinating board, the coordinating board may, after a public hearing, withhold or
direct to be withheld from that institution any funds the disbursement of which is
subject to the control of the coordinating board, or may remove the approval of the
institution as an approved institution within the meaning of section 173.1102. If any
such public institution willfully disregards board policy, the commissioner of higher
education may order such institution to remit a fine in an amount not to exceed one
percent of the institution's current fiscal year state operating appropriation to the
board. The board shall hold such funds until such time that the institution, as
determined by the commissioner of higher education, corrects the violation, at which
time the board shall refund such amount to the institution. If the commissioner
determines that the institution has not redressed the violation within one year, the
fine amount shall be deposited into the general revenue fund, unless the institution
appeals such decision to the full coordinating board, which shall have the authority

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to make a binding and final decision, by means of a majority vote, regarding the
matter. However, nothing in this section shall prevent any institution of higher
education in this state from presenting additional budget requests or from explaining
or further clarifying its budget requests to the governor or the general assembly;

(13) In recognition of institutions that meet the requirements of subdivision (2), (3),
or (4) of subsection 1 of section 173.616, are established by name as an educational
institution in Missouri, and are authorized to operate programs beyond secondary
education for purposes of authorization under 34 CFR 600.9, the coordinating board
for higher education shall maintain and publish on its website a list of such
postsecondary educational institutions; and

(14)(a) As used in this subdivision, the term “out-of-state public institution of
higher education” shall mean an education institution located outside of Missouri
that:

a. Is controlled or administered directly by a public agency or political subdivision
or is classified as a public institution by the state;

b. Receives appropriations for operating expenses directly or indirectly from a state
other than Missouri;

c. Provides a postsecondary course of instruction at least six months in length leading
to or directly creditable toward a degree or certificate;

d. Meets the standards for accreditation by an accrediting body recognized by the
United States Department of Education or any successor agency; and

e. Permits faculty members to select textbooks without influence or pressure by any
religious or sectarian source.

(b) No later than July 1, 2008, the coordinating board shall promulgate rules
regarding:

a. The board's approval process of proposed new degree programs and course
offerings by any out-of-state public institution of higher education seeking to offer
degree programs or course work within the state of Missouri; and

b. The board's approval process of degree programs and courses offered by any out-
of-state public institutions of higher education that, prior to July 1, 2008, were

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approved by the board to operate a school in compliance with the provisions of
sections 173.600 to 173.618. The rules shall ensure that, as of July 1, 2008, all out-
of-state public institutions seeking to offer degrees and courses within the state of
Missouri are evaluated in a manner similar to Missouri public higher education
institutions. Such out-of-state public institutions shall be held to standards no lower
than the standards established by the coordinating board for program approval and
the policy guidelines of the coordinating board for data collection, cooperation, and
resolution of disputes between Missouri institutions of higher education under this
section. Any such out-of-state public institutions of higher education wishing to
continue operating within this state must be approved by the board under the rules
promulgated under this subdivision. The coordinating board may charge and collect
fees from out-of-state public institutions to cover the costs of reviewing and assuring
the quality of programs offered by out-of-state public institutions. Any rule or
portion of a rule, as that term is defined in section 536.010, that is created under the
authority delegated in this section shall become effective only if it complies with and
is subject to all of the provisions of chapter 536 and, if applicable, section 536.028.
This section and chapter 536 are nonseverable and if any of the powers vested with
the general assembly under chapter 536 to review, to delay the effective date, or to
disapprove and annul a rule are subsequently held unconstitutional, then the grant of
rulemaking authority and any rule proposed or adopted after August 28, 2007, shall
be invalid and void.

(c) Nothing in this subdivision or in section 173.616 shall be construed or interpreted
so that students attending an out-of-state public institution are considered to be
attending a Missouri public institution of higher education for purposes of obtaining
student financial assistance.

3. The coordinating board shall meet at least four times annually with an advisory
committee who shall be notified in advance of such meetings. The coordinating
board shall have exclusive voting privileges. The advisory committee shall consist
of thirty-two members, who shall be the president or other chief administrative
officer of the University of Missouri; the chancellor of each campus of the University
of Missouri; the president of each state-supported four-year college or university,
including Harris-Stowe State University, Missouri Southern State University,
Missouri Western State University, and Lincoln University; the president of State
Technical College of Missouri; the president or chancellor of each public community
college district; and representatives of each of five accredited private institutions
selected biennially, under the supervision of the coordinating board, by the
presidents of all of the state's privately supported institutions; but always to include
at least one representative from one privately supported community college, one

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privately supported four-year college, and one privately supported university. The
conferences shall enable the committee to advise the coordinating board of the views
of the institutions on matters within the purview of the coordinating board.

4. The University of Missouri, Lincoln University, and all other state-governed
colleges and universities, chapters 172, 174, 175, and others, are transferred by type
III transfers to the department of higher education and workforce development
subject to the provisions of subsection 2 of this section.

5. The state historical society, chapter 183, is transferred by type III transfer to the
University of Missouri.

6. The state anatomical board, chapter 194, is transferred by type II transfer to the
department of higher education and workforce development.

7. All the powers, duties and functions vested in the division of public schools and
state board of education relating to community college state aid and the supervision,
formation of districts and all matters otherwise related to the state's relations with
community college districts and matters pertaining to community colleges in public
school districts, chapters 163, 178, and others, are transferred to the coordinating
board for higher education by type I transfer. Provided, however, that all
responsibility for administering the federal-state programs of vocational-technical
education, except for the 1202a postsecondary educational amendments of 1972
program, shall remain with the department of elementary and secondary education.
The department of elementary and secondary education and the coordinating board
for higher education shall cooperate in developing the various plans for vocational-
technical education; however, the ultimate responsibility will remain with the state
board of education.

8. All the powers, duties, functions, and properties of the state poultry experiment
station, chapter 262, are transferred by type I transfer to the University of Missouri,
and the state poultry association and state poultry board are abolished. In the event
the University of Missouri shall cease to use the real estate of the poultry experiment
station for the purposes of research or shall declare the same surplus, all real estate
shall revert to the governor of the state of Missouri and shall not be disposed of
without legislative approval.




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RSMo. § 173.007 provides:

The coordinating board for higher education shall appoint, and shall fix the powers,
duties, and compensation within the limits of appropriations made for that purpose
of, a commissioner of higher education, who shall be the chief administrative officer
of the coordinating board.

RSMo. § 173.360 provides:

In order to assure that all eligible postsecondary education students have access to
student loans that are guaranteed or insured, or both, and in order to support the
efforts of public colleges and universities to create and fund capital projects, and in
order to support the Missouri technology corporation's ability to work with colleges
and universities in identifying opportunities for commercializing technologies,
transferring technologies, and to develop, recruit, and retain entities engaged in
innovative technologies, there is hereby created a body politic and corporate to be
known as the “Higher Education Loan Authority of the State of Missouri”. The
authority is hereby constituted a public instrumentality and body corporate, and the
exercise by the authority of the powers conferred by sections 173.350 to
173.4501 shall be deemed to be the performance of an essential public function. The
authority shall consist of seven members, five of whom shall be appointed by the
governor by and with the advice and consent of the senate, each of whom shall be a
resident of the state; and a member of the coordinating board; and the commissioner
of higher education. In making appointments to the authority, the governor shall take
into consideration nominees recommended to him for appointment by the chairman
of the coordinating board. Two of the appointed members shall be representatives of
higher education institutions, one public and one private, in Missouri, two of the
appointed members shall be representatives of lending institutions in Missouri, and
one of the appointed members shall be representative of the public. The members of
the authority first appointed by the governor shall be appointed to serve for terms of
one, two, three, four and five years, respectively, from the date of appointment, or
until their successors shall have been appointed and shall have qualified. The initial
term of each member is to be designated by the governor at the time of making the
appointment. Upon the expiration of the initial terms of office, successor members
shall be appointed for terms of five years and shall serve until their successors shall
have been appointed and shall have qualified. Any member shall be eligible for
reappointment. The governor shall fill any vacancy in the authority for the members
he appoints for the remainder of the unexpired term. Any member of the authority
may be removed by the governor for misfeasance, malfeasance, willful neglect of



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duty, or other cause after notice and a public hearing unless the notice or hearing
shall be expressly waived in writing.

RSMo. § 173.365 provides:

Four members of the authority shall constitute a quorum for the purpose of
conducting business and exercising the powers of the authority. Action may be taken
by the authority upon the affirmative vote of at least four of its members. Members
may participate in a meeting by means of conference telephone or similar
communications equipment whereby all persons participating in or attending the
meeting can communicate with each other, and participation in a meeting in this
manner shall constitute presence in person at the meeting for all purposes. Each
meeting of the authority for any purpose whatsoever shall be open to the public.
Notice of meetings shall be given as provided in the bylaws of the authority. The
proceedings and actions of the authority shall comply with all statutory requirements
respecting the conduct of public business by a public agency. Members of the
authority shall receive no compensation for services but shall be entitled to
reimbursement for necessary expenses, including traveling and lodging expenses,
incurred in the discharge of their duties. Any payment for expenses shall be paid
from funds of the authority.

RSMo. § 173.370 provides:

1. The chairman of the coordinating board shall call and convene the initial
organizational meeting of the authority and shall serve as its chairman pro tem. At
the initial meeting and annually thereafter, the authority shall elect one of its
members as chairman and one as vice chairman. In addition, at the initial meeting
and annually thereafter, the authority shall appoint a secretary and a treasurer either
of whom may be a member of the authority and, if not a member of the authority,
shall receive such compensation as shall be fixed from time to time by action of the
authority. The authority may appoint an executive director who shall not be a
member of the authority and who shall serve at its pleasure. If an executive director
is appointed, he shall receive such compensation as shall be fixed from time to time
by action of the authority. The authority may designate the secretary to act in lieu of
the executive director. The secretary shall keep a record of the proceedings of the
authority and shall be the custodian of all books, documents, and papers filed with
the authority, the minute books or journal thereof, and its official seal. The secretary
may cause copies to be made of all minutes and other records and documents of the
authority and may give certificates under the official seal of the authority to the effect
that the copies are true and correct copies, and all persons dealing with the authority


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may rely on such certificates. The authority, by resolution duly adopted, shall fix the
powers and duties of its executive director as it may from time to time deem proper
and necessary.

2. The executive director, with approval of the authority, may hire such additional
employees as may be needed to carry out the functions and purposes of the authority.
These employees shall receive such compensation as shall be fixed from time to time
by action of the authority.


RSMo. § 173.385 provides:

1. The authority shall have the following powers, together with all powers incidental
thereto or necessary for the performance thereof:

(1) To have perpetual succession as a body politic and corporate;

(2) To adopt bylaws for the regulation of its affairs and the conduct of its business;

(3) To sue and be sued and to prosecute and defend, at law or in equity, in any court
having jurisdiction of the subject matter and of the parties;

(4) To have and to use a corporate seal and to alter the same at pleasure;

(5) To maintain an office at such place or places in the state of Missouri as it may
designate;

(6) To issue bonds or other forms of indebtedness to obtain funds to purchase student
loan notes or finance student loans, or both, including those which are guaranteed
under the provisions of sections 173.095 to 173.187, or under the provisions of the
federal Higher Education Act of 1965, as amended, or secondary education loans, or
scholarships which have been converted to loans under the Missouri teacher
education scholarship program provided for in sections 160.276 to 160.283. Such
bonds or other forms of indebtedness shall be payable from and secured by a pledge
of revenues derived from or by reason of the ownership of student loan notes or
financing of student loans, or both, and investment income or shall be payable from
and secured as may be designated in a bond resolution authorized by the authority.
Such bonds or other forms of indebtedness shall not constitute a debt or liability of
the state of Missouri or of any political subdivision thereof;



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(7) To cause proceeds of any bond or any other form of indebtedness to be used to
purchase student loan notes or finance student loans, or both, including those which
are guaranteed under section 173.110, or guaranteed under the federal Higher
Education Act of 1965, as amended, or secondary education loans, or scholarships
which have been converted to loans under the Missouri teacher education
scholarship program provided for in sections 160.276 to 160.283;

(8) To sell or enter into agreements to sell student loan notes acquired pursuant to
subdivision (7) of this section, and any agreement to sell student loan notes
guaranteed under section 173.110 shall be subject to prior approval of the
department. Such agreements to sell student loan notes shall be limited only by the
terms of the bond resolution authorizing the issue of the bonds or other forms of
indebtedness, but shall not be limited by any other provision of law limiting the sale
of such student loan notes;

(9) To transfer assets of the authority to the Lewis and Clark discovery fund
established in section 173.392;

(10) To accept appropriations, gifts, grants, bequests, and devises and to utilize or
dispose of the same to carry out its purpose;

(11) To make and execute contracts, releases, compromises, and other instruments
necessary or convenient for the exercise of its powers, or to carry out its purpose;

(12) To collect reasonable fees and charges in connection with making and servicing
its loans, notes, bonds, obligations, commitments, and other evidences of
indebtedness, and in connection with providing technical, consultative and project
assistant services. Such fees and charges shall be used to pay the costs of the
authority;

(13) To invest any funds not required for immediate disbursement in obligations of
the state of Missouri or of the United States government or any instrumentality
thereof, the principal and interest of which are guaranteed by the state of Missouri,
or the United States government or any instrumentality thereof, or certificates of
deposit or time deposits of federally insured banks, or federally insured savings and
loan associations or of insured credit unions, or, with respect to moneys pledged or
held under a trust estate or otherwise available for the owners of bonds or other forms
of indebtedness, any investment authorized under the bond resolution governing the
security and payment of such obligations or repurchase agreements for the specified
investments;

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(14) To acquire, hold and dispose of personal property to carry out its purposes;

(15) To enter into agreements or other transactions with any federal or state agency,
any person and any domestic or foreign partnership, corporation, association or
organization;

(16) To take any necessary actions to be qualified to issue tax-exempt bonds or other
forms of tax-exempt indebtedness pursuant to the applicable provisions of the
Internal Revenue Code of 1986, as amended, including the issuance of such bonds
to fulfill the obligations of the authority under subsection 2 of this section;

(17) To take any necessary actions to be qualified to issue bonds or other forms of
indebtedness, the interest on which is not exempt from federal income taxation,
including the issuance of such bonds to fulfill the obligations of the authority under
subsection 2 of this section;

(18) To service student loans for any owner thereof, regardless of whether such
student loans are originated in this state or out of this state;

(19) To create, acquire, contribute to, or invest in any type of financial aid program
that provides grants and scholarships to students.

2. The authority shall distribute three hundred fifty million dollars of assets of the
authority to the Lewis and Clark discovery fund established in section 173.392 as
follows: two hundred thirty million dollars no later than September 15, 2007; five
million dollars by December 31, 2007; and five million dollars each quarter
thereafter ending September 30, 2013. Any investment earnings on the moneys in
the Lewis and Clark discovery fund shall be credited against the next distribution by
the authority and shall thereby reduce the amount of any such distribution by the
authority. The authority shall make any distributions to the Lewis and Clark
discovery fund pursuant to the dates scheduled in this subsection, provided,
however, that the date of any such distribution may be delayed by the authority if
the authority determines that any such distribution may materially adversely effect
the services and benefits provided Missouri students or residents in the ordinary
course of the authority's business, the borrower benefit programs of the authority, or
the economic viability of the authority. Notwithstanding the ability of the authority
to delay any distribution required by this subsection, the distribution of the entire
three hundred fifty million dollars of assets by the authority to the Lewis and Clark
discovery fund shall be completed no later than September 30, 2013, unless



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otherwise approved by the authority and the commissioner of the office of
administration.

3. No member of the authority who lawfully acts or votes on any agreement or other
matter authorized under the powers granted to the authority under this section shall
incur any personal liability as a result of such lawful deliberations, acts, or votes,
and such members shall be immune from suit for such deliberations, acts, or votes.
In no event shall such deliberations, acts, or votes constitute a conflict of interest
under section 173.380.

4. Notwithstanding any provision of law to the contrary, in the event of the initial
distribution of two hundred thirty million dollars of assets by the authority to the
Lewis and Clark discovery fund created in section 173.392, the director of the
department of economic development shall allocate to and reserve for the authority
during the year of such first distribution and in at least each of the next fourteen
years thereafter a percentage of the state ceiling under sections 108.500 to 108.532,
which percentage shall at a minimum be equal to one and one-half percent less than
the average percentage of the authority's allocation of state ceiling for the two
calendar years 2005 and 2006 calculated annually. The dollar amount of state ceiling
to be received by the authority as determined under the provisions of this subsection
for calendar year 2014 and later years, not to exceed calendar year 2021, shall be
reduced in any calendar year by the percentage of the three hundred fifty million
dollars not yet distributed by the authority to the Lewis and Clark discovery fund by
the preceding calendar year end.


RSMo. § 173.387 provides:

Notwithstanding any other provision of law, the authority shall not have the power
or authority to cause any asset of the authority to be used for the payment of debt
incurred by the state, and the authority shall not have the power or authority to
distribute any asset of the authority to any fund of the state of Missouri for the
purpose of payment of debt incurred by the state.


RSMo. § 173.390 provides:

Bonds of the authority may be issued as serial bonds, as term bonds, or as a
combination of both types. All such bonds issued by the authority shall be payable
solely from and secured by a pledge of revenues derived from or by reason of the
ownership of student loan notes and investment income or as may be designated in

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a bond resolution authorized by the authority. Such bonds may be executed and
delivered by the authority at any time and from time to time, may be in such form
and denomination or denominations and of such terms and maturities, may be in
fully registered form or in bearer form, registrable either as to principal or interest
or both, may bear such conversion privileges, may be payable in such installment or
installments and at such time or times not exceeding forty years from the date of the
issuance thereof, may be payable at such place or places whether within or without
the state of Missouri, may bear interest at such rate or rates per annum as determined
by the authority without regard to section 108.170, may be made payable at such
time or times and at such place or places, may be evidenced in such manner, may be
executed by such officers of the authority, may have attached thereto, in the case of
bearer bonds or bonds registrable as to principal only, interest coupons bearing the
facsimile signature of the secretary of the authority, and may contain such provisions
not inconsistent herewith, all as shall be provided in the bond resolution or
resolutions of the authority whereunder the bonds shall be authorized to be issued.
If deemed advisable by the authority, there may be retained in the bond resolution
under which any bonds of the authority are authorized to be issued an option to call
for redemption in advance of maturity all or any part of such bonds as may be
specified in the bond resolution, at such price or prices, upon the giving of such
notice or notices, and upon such terms and conditions as may be set forth in the bond
resolution and as may be recited on the face of the bonds, but nothing in this section
shall be construed to confer upon the authority the right or option to call for
redemption in advance of maturity any bonds except as may be provided in the bond
resolution under which they shall be issued. The bonds of the authority may be sold
at public or private sale for such price, in such manner, and from time to time as may
be determined by the authority notwithstanding the provisions of section 108.170,
and the authority may pay all expenses, premiums, and commissions which it may
deem necessary or advantageous in connection with the issuance thereof from the
proceeds of the bonds. Other forms of indebtedness issued by the authority shall
have such terms as may be provided in a bond resolution authorized by the authority.
Any such indebtedness may bear interest at such rates and be sold in such manner as
may be determined by the authority notwithstanding the provisions of section
108.170, and the authority may pay all expenses, premiums and commissions which
it may deem necessary or advantageous in connection with the issuance thereof from
proceeds therefrom or from other funds of the authority.




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RSMo. § 173.392 provides:

1. There is hereby created in the state treasury a fund to be known as the “Lewis and
Clark Discovery Fund”. The state treasurer shall deposit to the credit of the fund all
moneys which may be distributed to it by the authority, appropriated to it by the
general assembly, and any gifts, contributions, grants, or bequests received from
federal, private, or other sources for deposit into the fund. The office of
administration shall administer the fund. The moneys in the fund shall only be used
for any purpose enumerated in subsection 2 of this section. The moneys in the fund
may be appropriated by the general assembly, but only for any purpose enumerated
in subsection 2 of this section. None of the moneys in the fund shall be considered
state funds unless and to the extent such moneys are appropriated by the general
assembly.

2. The general assembly may annually appropriate moneys from the Lewis and Clark
discovery fund only for the following purposes:

(1) To support funding of capital projects at public colleges and universities,
provided that moneys shall not be appropriated to any public college or university
that knowingly employs, as of September 1, 2007, any person, as a professor or
instructor, required to be registered under sections 589.400 to 589.425; and

(2) To support funding for the Missouri technology corporation's ability to work with
colleges and universities in identifying opportunities for commercializing
technologies, transferring technologies, and to develop, recruit, and retain entities
engaged in innovative technologies.

3. Moneys in the fund shall be invested by the state treasurer in the manner
prescribed by law for investment of general revenue funds and any interest earned
on invested moneys shall accrue to the benefit of the Lewis and Clark discovery fund
and shall reduce payments by the authority pursuant to subsection 2 of section
173.385. Notwithstanding the provisions of section 33.080 to the contrary, moneys
in the Missouri Lewis and Clark discovery fund shall not revert to the credit of the
general revenue fund at the end of the biennium.


RSMo. § 173.395 provides:

Issuance by the authority of one or more series of bonds or other forms of
indebtedness shall not preclude it from issuing other bonds or other forms of
indebtedness in connection with the same purpose or any other purpose hereunder,

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but the bond resolution whereunder any subsequent bonds or other forms of
indebtedness may be issued shall recognize and protect any prior pledge made for
any prior issue of bonds or other forms of indebtedness. Any issue of bonds or other
forms of indebtedness of the authority at any time outstanding may be refunded at
any time and from time to time by the authority by the issuance of its refunding
bonds or other forms of indebtedness in such amount as the authority may deem
necessary, but not exceeding the amount sufficient to refund the principal of the
bonds or other forms of indebtedness so to be refunded together with any unpaid
interest thereon and any premiums, commissions, service fees, and other expenses
necessary to be paid in connection with the refunding. Any such refunding may be
effected whether the bonds or other forms of indebtedness to be refunded then shall
have matured or thereafter shall mature, either by sale of the refunding bonds or
other forms of indebtedness and the application of the proceeds thereof to the
payment of the bonds or other forms of indebtedness being refunded or by the
exchange of the refunding bonds or other forms of indebtedness for the bonds or
other forms of indebtedness being refunded with the consent of the holder or holders
of the bonds or other forms of indebtedness being refunded, regardless of whether
or not the bonds or other forms of indebtedness being refunded were issued for the
same purpose or any other purpose hereunder and regardless of whether or not the
bonds or other forms of indebtedness proposed to be refunded shall be payable on
the same date or different dates or shall be due serially or otherwise.


RSMo. § 173.405 provides:

The principal of and interest on any bonds issued by the authority shall be secured
by a pledge of the revenues derived from or by reason of the ownership of student
loan notes and investment income or such other funds as may be designated in a
bond resolution authorized by the authority. The bond resolution under which the
bonds are authorized to be issued may contain any agreements and provisions
respecting the purchase and sale of student loan notes or financing of student loans,
or both, the creation and maintenance of special funds from such revenues or
receipts, and the rights and remedies available in the event of default, including the
designation of a trustee, all as the authority shall deem advisable and not in conflict
with the provisions hereof. The principal of and interest on any other form of
indebtedness issued by the authority shall be secured in such manner as may be set
forth in the bond resolution authorizing such indebtedness and such bond resolutions
may contain such other agreements and provisions as the authority may determine.
Each pledge, agreement, and indenture made for the benefit or security of any of the
bonds or other forms of indebtedness of the authority shall continue effective until


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the principal of and interest thereon for the benefit of which the same were made
shall have been fully paid or provisions for such payment duly made. In the event of
a default in the payment or in any agreement of the authority made as a part of the
bond resolution under which the bonds or other forms of indebtedness were issued
or secured, the payment or agreement may be enforced by suit, mandamus, the
appointment of a receiver in equity, or any one or more of these remedies.


RSMo. § 173.410 provides:

Bonds or other forms of indebtedness issued under the provisions of sections
173.350 to 173.450 shall not be deemed to constitute a debt or liability of the state
or of any political subdivision thereof or a pledge of the full faith and credit of the
state or of any such political subdivision, but shall be payable solely from the funds
provided for in sections 173.350 to 173.450. The issuance of bonds or other forms
of indebtedness under the provisions of sections 173.350 to 173.450 shall not,
directly, indirectly, or contingently, obligate the state or any political subdivision
thereof to levy any form of taxation therefor or to make any appropriation for their
payment. Nothing in this section shall be construed to authorize the authority to
create a debt of the state within the meaning of the constitution or statutes of the
state of Missouri, and each bond or other form of indebtedness issued by the
authority shall be payable and shall state on its face that it is payable solely from the
funds pledged for its payment in accordance with the bond resolution authorizing its
issuance. The state shall not be liable in any event for the payment of the principal
of or interest on any bonds of the authority or for the performance of any pledge,
mortgage, obligation, or agreement of any kind whatsoever which may be
undertaken by the authority. No breach of any such pledge, mortgage, obligation, or
agreement may impose any pecuniary liability upon the state or any charge upon the
general credit or taxing power of the state.


RSMo. § 173.415 provides:

The authority is hereby declared to be performing a public function and to be a
separate public instrumentality of the state. Accordingly, the income of the authority
and all properties at any time owned by the authority shall be exempt from all
taxation in the state of Missouri. For the purposes of section 409.402, all bonds or
other forms of indebtedness issued by the authority shall be deemed to be securities
issued by a separate public instrumentality of the state of Missouri.




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RSMo. §173.420 provides:

All expenses of the authority incurred in carrying out the provisions of sections
173.350 to 173.450 shall be payable solely from funds provided under such sections,
and no liability shall be incurred by the authority beyond the extent to which moneys
shall have been provided; except that, for the purpose of meeting the necessary
expenses of operation until such date as the authority derives moneys from funds
provided hereunder, the authority shall be empowered to borrow such moneys as
may be required for the necessary expenses of operation, or to receive advances from
funds to be appropriated for this purpose by the general assembly. The borrowed
moneys shall be repaid or shall be reimbursed to general revenue within a reasonable
time after the authority receives funds as provided in sections 173.350 to 173.450,
and shall be repaid solely from such funds. Nothing in sections 173.350 to 173.450
shall be construed as a restriction upon any powers which the authority might
otherwise have under any laws of this state, but shall be construed as cumulative of
any such powers. Nothing in these sections shall be construed to deprive the state
and its governmental subdivisions of their respective powers over assets of the
authority or to impair any power thereof of any official or agency of the state and its
governmental subdivisions which otherwise may be provided by law.

RSMo. § 173.445 provides:

The higher education loan authority is assigned to the department of higher
education and workforce development. The authority shall annually file with the
director of said department a report of its previous year's income, expenditures and
bonds or other forms of indebtedness issued and outstanding.




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